                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,

                 Plaintiff,                                    No. CR06-0040

 vs.                                                               ORDER

 SHAUN WILLIAMS,

                 Defendant.
                                   ____________________


         This matter comes before the court pursuant to the government’s motion for
detention made at the defendant’s initial appearance before a judicial officer. The court
held an evidentiary hearing on this motion on April 14, 2006, at which the defendant was
present and represented by Michael Lannigan.           The government was represented by
Assistant United States Attorney C.J. Williams. The government’s motion for detention
is granted.
                                    FINDINGS OF FACT
         The defendant is charged with distribution of heroin resulting in the death of another
individual. His criminal history reveals over 20 convictions since 1993 for theft, drug,
alcohol, weapons, and assaultive behavior. He escaped from custody in 2001 and was
arrested for a theft while on escape status. He violated his probation and parole in the
past.
         The defendant is a caregiver for his mother and her boyfriend. He has one daughter
for whom he pays chid support.
                                 CONCLUSIONS OF LAW
         Pursuant to Title 18, United States Code § 3142(e), the judicial officer must
determine whether any condition or combination of conditions will reasonably assure the

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appearance of the person as required and the safety of any other person and the community
in deciding whether to grant the government's motion for detention. Detention can be
based on a showing either of dangerousness or risk of flight, both are not required. United
States v. Fortna, 769 F.2d 243 (5th Cir. 1985). The standard is "reasonable assurance";
the court cannot order the detention because there are no conditions which would guarantee
appearance and safety. United States v. Orta, 760 F.2d 887 (8th Cir. 1985). The grounds
relied upon by a judicial officer to support a finding that no condition or combination of
conditions will reasonably assure the safety of any other person or the community must be
supported by clear and convincing evidence. However, the burden of proof on the issue
of risk of flight is by a preponderance of the evidence. United States v. Orta, supra.
       The judicial officer shall, in determining whether there are conditions of release that
will reasonably assure the appearance of the person as required and the safety of any other
person and the community, take into account the available information concerning --
(1) the nature and circumstances of the offense charged, including whether the offense is
a crime of violence or involves a narcotic drug; (2) the weight of the evidence against the
person; (3) the history and characteristics of the person, including -- (A) the person's
character, physical and mental condition, family ties, employment, financial resources,
length of residence in the community, community ties, past conduct, history relating to
drug or alcohol abuse, criminal history, and record concerning appearance at court
proceedings; and (B) whether, at the time of the current offense or arrest, the person was
on probation, on parole, or on other release pending trial, sentencing, appeal, or
completion of sentence for an offense under Federal, State, or local law; and (4) the nature
and seriousness of the danger to any person or the community that would be posed by the
person's release. 18 U.S.C. § 3142(g).
       Subject to rebuttal by the person, it shall be presumed that no condition or
combination of conditions will reasonably assure the appearance of the person as required
and the safety of the community if the judicial officer finds that there is probable cause to


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believe that the person committed an offense for which a maximum term of imprisonment
of ten years or more is prescribed in the Controlled Substances Act. 18 U.S.C. § 3142(e).
This rebuttable presumption arises only if the defendant is charged in at least one count
subject to these penalties. United States v. Chimurenga, 760 F.2d 400 (2d Cir. 1985).
       The rebuttable presumption of § 3142(e) creates a burden of production upon the
defendant, not a burden of persuasion. The purpose of the rebuttable presumption is to
shift the burden to the defendant to establish a basis for concluding that there are
conditions of release sufficient to reasonably assure that the defendant will not engage in
dangerous criminal activity pending trial. United States v. Jessup, 757 F.2d 378, 381 (1st
Cir. 1985). Although most rebuttable presumptions found in the law disappear when any
evidence is presented by the opponent of the presumption, the rebuttable presumption of
§ 3142(e) is not such a "bursting bubble." United States v. Jessup, supra, at 383. Thus,
in order to rebut the presumption, the defendant must produce some evidence; and the
Magistrate Judge should still keep in mind the fact that Congress has found that certain
drug offenders, as a general rule, pose special risks of flight. United States v. Jessup,
supra, at 384. Although this court is unable to find any case from the Eighth Circuit Court
of Appeals similarly construing the rebuttable presumption of § 3142(e), other circuits
have adopted the rationale of Jessup. United States v. Martir, 782 F.2d 1141, 1144 (2d
Cir. 1986); United States v. Diaz, 777 F.2d 1236, 1237 (7th Cir. 1985); United States v.
Fortna, 769 F.2d 243, 251 (5th Cir. 1985); United States v. Hurtado, 779 F.2d 1467,
1470 (11th Cir. 1985); United States v. Alatisha, 768 F.2d 364, 371 (D.C. Cir. 1985).
       In this case, it is the defendant’s criminal history that causes him to be undeserving
of leniency when considering the government’s motion for detention. The defendant has
been convicted of numerous offenses, including offenses committed while on supervision,
and an escape.
       The court has examined the factors found in 18 U.S.C. § 3142(g) and weighed the
evidence according to the standards noted above.        Pursuant to the evidence and the


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rebuttable presumption of § 3142(e), the court finds by clear and convincing evidence that
no condition or combination of conditions will reasonably assure the safety of the
community upon the defendant's release. The court finds by a preponderance of the
evidence that the release of the defendant would pose a serious risk of flight.        The
defendant was advised in open court of his right to a prompt resolution of any appeal of
this order.
       Upon the foregoing,
       IT IS ORDERED
       1. That the defendant is committed to the custody of the Attorney General for
confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal.
       2. The Attorney General shall afford the defendant reasonable opportunity for
private consultation with counsel while detained.
       April 14, 2006.




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